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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                      DELTA DIVISION

DANNY LEE HOOPER                                                PLAINTIFF
ADC #107609

V.                       No. 2:21 -cv-58-DPM

ROOSEVELT BARDEN,
Captain Shift Supervisor, EARU                                 DEFENDANT

                                      ORDER
     In an earlier Order, the Court granted Hooper's motion for copies,
Doc. 136, but reserved decision on the embedded filing-fees issue.
Doc. 137. This is that Order. The $700 Hooper paid in August 2021 was
fully applied to an older case, No. 2:12-cv-48-SWW. As of 24 June 2024,
Hooper still owes $1,740.22 in four cases. Here's the breakdown:
        No. 2:09-cv-135 -SWW         .............   $283.85
        No. 2:12-cv -47-BSM   .................      $346.37
        No. 2:12 -cv -48-SWW     ...............     $155.00
        No. 2:21 -cv -58 -DPM   ................     $955.00
Each case's payment records are attached. The Court sees no errors.
                                 *           *         *



     Motion, Doc. 136, partly granted as specified in the Court's
18 June 2024 Order, and partly denied as specified in this Order.
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So Ordered.

                            D.P. Marshall Jr.
                            United States District Judge

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